                                                                                                     r
                 Case 1:18-cr-00184-VSB Document 25 Filed 01/06/20 Page 1 of 23



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-   -   -    -    -   -     -   -    -   -   -   -   -   -   -   X
                                                                         OR\G\NAL
UNITED STATES OF AMERICA                                             SEALED INDICTMENT

                      - v. -
                                                                     S3 18 Cr. 184
MARC DEMANE DEBIH,

                                    Defendant.

-   -   -    -    -   -     -   -    -   -   -   -   -   -   -   X

                                            COUNT ONE
                            (Conspiracy to Commit Securities Fraud and
                             Fraud in Connection with a Tender Offer)

            The Grand Jury charges:

                                                     Relevant Entities

            1.        At all times relevant to this Indictment, Investment

Bank A was an independent global investment banking advisory

firm with offices in, among other locations, London, England.

            2.        At all times relevant to this Indictment, Investment

Bank B was an independent global investment banking advisory

firm with offices in, among other locations, London, England.

            3.        At all times relevant to this Indictment:

                      a.            Reliance Steel & Aluminum Co.              ("Reliance") was a

metals services center operator with headquarters in Los

Angeles, California.                             Reliance's securities traded under the

symbol "RS" on the New York Stock Exchange ("NYSE").

                      b,.           Metals USA Holdings Corp.              ("Metals") was a metals

processing and inventory management company with headquarters in
                                   .r'
      Case 1:18-cr-00184-VSB Document  25 Filed 01/06/20 Page 2 of 23



Florida.    Metals' securities traded under the symbol "MUSA" on

the NYSE.

            c.     Life Technologies Corporation ("Life") was a

biotechnology company with headquarters in Carlsbad, California.

Life's securities traded under the symbol "LIFE" on the NASDAQ

Stock Exchange ("NASDAQ") .

            d.     AmerisourceBergen Corporation ("ABC") was a

pharmaceutical wholesale company with headquarters in

Chesterbook, Pennsylvania.         ABC's securities traded under the

symbol "ABC" on the NYSE.

            e.     Heidrick   &   Struggles International, Inc.

("Heidrick") was a global executive search company with

headquarters in Chicago, Illinois.          Heidrick's securities traded

under the symbol "HSII" on NASDAQ.

            f.     Onyx Pharmaceuticals Inc.     ("Onyx") was a

biopharmaceutical company with headquarters in San Francisco,

California.      Onyx's securities traded under the symbol "ONXX" on

NASDAQ.

            g.    Amgen Inc.      ("Amgen") was a biopharmaceutical

company with headquarters in Thousand Oaks, California.           Amgen's

securities traded under the symbol "AMGN" on NASDAQ.

            h.     Idenix Pharmaceuticals, Inc.     ("Idenix") was a

pharmaceutical company with headquarters in Cambridge,

Massachusetts.      Idenix's securities traded under the symbol

                                        2
                                                    71
iJ         Case 1:18-cr-00184-VSB Document 25 Filed 01/06/20 Page 3 of 23



     "IDIX" on NASDAQ.

               l.       Mere k   &   Co . , Inc .        ( "Merck") was a pharmaceutical

     company with headquarters in Kenilworth, New Jersey.                      Merck's

     securities traded under the symbol "MRK" on the NYSE.

                  j.    InterMune, Inc.         ("Intermune") was a biotechnology

     company with headquarters in Brisbane, California.                      Intermune's

     securities traded under the symbol "ITMN" on NASDAQ.

                  k.    Avanir Pharmaceuticals, Inc.                 ( "Avanir") was a

     pharmaceutical company with headquarters in Aliso Viejo,

     California.       Avanir's securities traded under the symbol "AVNS"

     on NASDAQ.

                  1.     Otsuka Pharmaceutical Co., Ltd.                ("Otsuka") was a

     healthcare company with headquarters in Tokyo, Japan.

                  m.     Hyperion Therapeutics, Inc.                ("Hyperion") was a

     biopharmaceutical company headquartered in San Francisco,

     California.       Hyperion's securities traded under the symbol

     "HPTX" on NASDAQ.

                  n.     Horizon Pharma plc ("Horizon") was a

     pharmaceutical company with headquarters in Dublin, Ireland.

     Horizon's securities traded under the symbol "HZNP" on NASDAQ.

                  o.     Pharmacyclics Inc.               ("Pharmacyclics") was a

     biopharmaceutical company with headquarters in Sunnyvale,

     California.       Pharmacyclics' securities traded under the symbol

     "PCYC" on NASDAQ.

                                                    3
                                                                         ,,
      Case 1:18-cr-00184-VSB Document 25 Filed 01/06/20 Page 4 of 23



          p.    Receptos Inc.    ( "Receptos") was a biotechnology

company with headquarters in San Diego, California.          Receptos'

securities traded under the symbol "RCPT" on NASDAQ.

           q.   Celgene Corporation ("Celgene") was a

biopharmaceutical company with headquarters in Summit, New

Jersey.   Celgene's securities traded under the symbol "CELG" on

NASDAQ.

           r.   Omnicare, Inc.    ("Omnicare") was a health care

company with headquarters in Cincinnati, Ohio.         Omnicare's

securities traded under the symbol "OCR" on the NYSE.

           s.   Solera Holdings, Inc.     ("Solera") was a digital

technology company with headquarters in Westlake, Texas.

Solera's securities traded under the symbol "SLH" on the NYSE.

           t.   Thoratec Corporation ("Thoratec") was a medical

device company with headquarters in Pleasanton, California.

Thoratec's securities traded under the symbol "THOR" on the

NASDAQ.

                        Statutory Allegations

     4.   From at least in or about December 2012 through in or

about February 2018, in the Southern District of New York and

elsewhere, MARC DEMANE DEBIH, the defendant, and others known

and unknown, willfully and knowingly combined, conspired,

confederated, and agreed together and with each other to commit

offenses against the United States, to wit,        (a) securities

                                    4
R
             Case 1:18-cr-00184-VSB Document 25 Filed 01/06/20 Page 5 of 23
                                               A




    fraud,    in violation of Title 15, United States Code, Sections

    78j (b) and 78ff, and Title 17, Code of Federal Regulations,

    Sections 240.lOb-5 and 240.10b5-2; and (b) fraud in connection

    with a tender offer, in violation of Title 15, United States

    Code, Sections 78n(e) and 78ff, and Title 17, Code of Federal

    Regulations, Sections 240.14e-3(a) and 240.14e-3(d).

         5.      It was a part and object of the conspiracy that :MARC

    DEMANE DEBIH, the defendant, and others known and unknown,

    willfully and knowingly, directly and indirectly, by the use of

    means and instrumentalities of interstate commerce, and of the

    mails, and of facilities of national securities exchanges, would

    and did use and employ, in connection with the purchase and sale

    of securities, manipulative and deceptive devices and

    contrivances in violation of Title 17, Code of Federal

    Regulations, Sections 240.lOb-5 and 240.10b5-2 by:           (a) employing

    devices, schemes, and artifices to defraud;          (b) making untrue

    statements of material fact and omitting to state material facts

    necessary in order to make the statements made, in the light of

    the circumstances under which they were made, not misleading;

    and (c} engaging in acts, practices, and courses of business

    which operated and would operate as a fraud and deceit upon

    persons, to wit, DEMANE DEBIH, and others known and unknown,

    conspired to commit insider trading in connection with the U.S.

    exchange traded securities of at least Metals, Life, ABC,

                                           5
                                                                        1
      Case 1:18-cr-00184-VSB Document 25 Filed 01/06/20 Page 6 of 23



Heidrick, Onyx, Intermune, Idenix, Avanir, Hyperion,

Pharmacyclics, Receptos, Omnicare, Solera, and Thoratec.

     6.    It was a further part and an object of the conspiracy

that MARC DEMANE DEBIH, the defendant, and others known and

unknown, willfully and knowingly would and did engage in

fraudulent, deceptive, and manipulative acts and practices in

connection with a tender offer, in that after an offering person

had taken substantial steps to commence a tender offer, DEMANE

DEBIH, and others known and unknown, while in possession of

material information relating to such tender offer, which

information they knew and had reason to know was non-public and

which they knew and had reason to know had been acquired

directly and indirectly from the offering person, the issuer of

the securities sought and to be sought by such tender offer, and

an officer, director, partner, and employee and other person

acting on behalf of the offering person and such issuer:          (a)

purchased and sold and caused to be purchased and sold; and (b)

communicated such material, non-public information under

circumstances in which it was reasonably foreseeable that such

communication would likely result in the purchase and sale of

such securities and securities convertible into and exchangeable

for such securities and options and right to obtain and to

dispose of such securities and options, without such information

and its source having been publicly disclosed by press release

                                    6
1\,           Case 1:18-cr-00184-VSB Document 25 Filed 01/06/20 Page 7 of 23



      and otherwise within a reasonable time prior to such purchase

      and sale, in violation of Title 15, United States Code, Sections

      78n(e) and 78ff; and Title 17, Code of Federal Regulations,

      Sections 240.14e-3(a) and 240.14e-3(d), to wit, DEMANE DEBIH,

      and others known and unknown, conspired to commit insider

      trading in connection with the proposed tender offers relating

      to at least (a) Amgen for the U.S. exchange traded securities of

      Onyx;     (b) Merck for the U.S. exchange traded securities of

      Idenix;      (c) Otsuka for the U.S. exchange traded securities of

      Avanir;      (d) Horizon for the U.S. exchange traded securities of

      Hyperion; and (e) Celgene for the U.S. exchange traded

      securities of Receptos.

                                       Overt Acts

              7.    In furtherance of the conspiracy, and to effect the

      illegal objects thereof, MARC DEMANE DEBIH, the defendant, and

      others known and unknown, committed the following overt acts,

      among others, in the Southern District of New York and

      elsewhere:

                    a.   In or about December 2012, a co-conspirator not

      named as a defendant herein ("CC-1"), while employed as an

      analyst at Investment Bank A, accessed files on Investment Bank

      A's computer network relating to the potential acquisition of

      Metals.




                                            7
     Case 1:18-cr-00184-VSB Document 25 Filed 01/06/20 Page 8 of 23



           b.   On May 12, 2014, DEMANE DEBIH purchased 85,037

common shares of Idenix using an online brokerage account.

           (Title 18, United States Code, Section 371.)

                            COUNT TWO
      (Conspiracy to Commit Wire Fraud and Securities Fraud)

     The Grand Jury further charges:

     8.    The allegations contained in paragraphs 1 through 3

and 7 of this Indictment are hereby repeated, realleged, and

incorporated by reference, as if fully set forth herein.

     9.    From at least in or about December 2012 through in or

about February 2018, in the Southern District of New York and

elsewhere, MARC DEMANE DEBIH, the defendant, and others known

and unknown, willfully and knowingly, did combine, conspire,

confederate, and agree together and with each other to commit

(a) wire fraud, in violation of Title 18, United States Code,

Section 1343; and (b) securities fraud, in violation of Title

18, United States Code, Section 1348.

     10.   It was a part and an object of the conspiracy that

MARC DEMANE DEBIH, the defendant, and others known and unknown,

willfully and knowingly, having devised and intending to devise

a scheme and artifice to defraud, and for obtaining money and

property by means of false and fraudulent pretenses,

representations, and promises, would and did transmit and cause

to be transmitted by means of wire, radio, and television



                                   8
      Case 1:18-cr-00184-VSB Document 25 Filed 01/06/20 Page 9 of 23



communication in interstate and foreign commerce writings,

signs, signals, pictures, and sounds for the purpose of

executing such scheme and artifice, in violation of Title 18,

United States Code, Section 1343, to wit, DEMANE DEBIH and

others conspired to defraud at least Investment Bank A,

Investment Bank B, Reliance, Life, ABC, Heidrick, Onyx,

Intermune, Idenix, Avanir, Hyperion, Pharmacyclics, Receptos,

Omnicare, Solera, and Thoratec of valuable confidential

information by deceptively converting that information to their

own use and the use of others in breach of fiduciary and other

duties owed to the subject companies for the purpose of

committing insider trading.

     11.   It was further a part and an object of the conspiracy

that MARC DEMANE DEBIH, the defendant, and others known and

known, willfully and knowingly would and did execute a scheme

and artifice to (a) defraud persons in connection with

securities of an issuer with a class of securities registered

under Section 12 of the Securities Exchange Act of 1934 and that

was required to file reports under Section 15(d) of the

Securities Exchange Act of 1934, and (b) obtain, by means of

false and fraudulent pretenses, representations, and promises,

money and property in connection with the purchase and sale of

securities of an issuer with a class of securities registered

under Section 12 of the Securities Exchange Act of 1934 and that

                                    9
     Case 1:18-cr-00184-VSB Document 25 Filed 01/06/20 Page 10 of 23



was required to file reports under Section 15(d) of the

Securities Exchange Act of 1934, in violation of Title 18,

United States Code, Section 1348, to wit, DEMANE DEBIH and

others schemed to defraud at least Reliance, Life, ABC,

Heidrick, Onyx, Intermune, Idenix, Avanir, Hyperion,

Pharmacyclics, Receptos, Omnicare, Solera, and Thoratec of

valuable confidential information by deceptively converting that

information to their own use, using cellular telephones and e-

mail communications, for the purpose of executing transactions

in the securities of Metals, Life, ABC, Heidrick, Onyx,

Intermune, Idenix, Avanir, Hyperion, Pharmacyclics, Receptos,

Omnicare, Solera, and Thoratec.

           (Title 18, United States Code, Section 1349.)

                   COUNTS THREE through SEVENTEEN
                         {Securities Fraud)

     The Grand Jury further charges:

     12.   The allegations contained in paragraphs 1 through 3

and 7 of this Indictment are hereby repeated, realleged, and

incorporated by reference, as if fully set forth herein.

     13.   On or about the dates set forth below, in the southern

District of New York and elsewhere, MARC DEMANE DEBIH, the

defendant, willfully and knowingly, directly and indirectly, by

the use of means and instrumentalities of interstate commerce,

and of the mails, and of facilities of national securities



                                   10
     Case 1:18-cr-00184-VSB Document 25 Filed 01/06/20 Page 11 of 23



exchanges, used and employed in connection with the purchase and

sale of securities manipulative and deceptive devices and

contrivances, in violation of Title 17, Code of Federal

Regulations, Sections 240.lOb-5 and 240.10b5-2, by:         (a)

employing devices, schemes, and artifices to defraud;         (b) making

untrue statements of material fact and omitting to state

material facts necessary in order to make the statements made,

in the light of the circumstances under which they were made,

not misleading; and (c) engaging in acts, practices, and courses

of business which operated and would operate as a fraud and

deceit upon persons, to wit, DEMANE DEBIH, executed and caused

to be executed timely securities transactions, based on material

non-public information supplied in breach of a duty, including

the securities transactions listed below on or about the dates

listed below:




                                   11
      Case 1:18-cr-00184-VSB Document 25 Filed 01/06/20 Page 12 of 23



Count Transaction Date     Company          Transactions
  3   In or about          Metals           Purchases of at least
      December 2012                         approximately:
      and January 2013                         o 12,000 common
                                                 shares;
                                               • 1, 822 spread bet
                                                 contracts; and
                                               • 3,500 contracts for
                                                 difference (~CFDs•)
  4   In or about          Life             Purchases of at least
      January 2013                          approximately:
                                               o 9,500 common shares;
                                               • 100 call option
                                                 contracts;
                                               • 1,000 spread bet
                                                 contracts;
                                               o 500 spread bet call
                                                 option contracts;
                                               o 8 , 8 8 8 CFDs ; and
                                               o 10 CFD call option
                                                 contracts
  5   In or about          ABC              Purchases of at least
      February and                          approximately:
      March 2013                               • 3 0, 000 common
                                                 shares;
                                               • 695 call option
                                                 contracts;
                                               o 1,600 spread bet
                                                 contracts; and
                                              • 16, 000 CFDs
  6   In or about          Life             Purchases of at least
      April 2013                            approximately:
                                               • 100 call option
                                                 contracts;
                                               • 1, 227 spread bet
                                                 contracts;
                                               • 1,224 spread bet
                                                 call option
                                                 contracts; and
                                               • 18,000 CFDs
 7    In or about          Heidrick         Purchases of at least
      April and May                         approximately 1,830
      2013                                  spread bet contracts



                                      12
     Case 1:18-cr-00184-VSB Document 25 Filed 01/06/20 Page 13 of 23



8    In or about June     Onyx             Purchases of at least
     2013                                  approximately:
                                             0  57,200 common
                                                shares;
                                             0  244 call option
                                                contracts;
                                             • 1,300 spread bet
                                                contracts;
                                             • 500 spread bet call
                                                option contracts;
                                                and
                                             • 20,500 CFDs
9    In or about          Intermune        Purchases of at least
     April through                         approximately:
     August 2014                             0  149,005 common
                                                shares;
                                             • 400 call option
                                                contracts; and
                                             0  353,000 CFDs
10   In or about May      Idenix           Purchases of at least
     and June 2014                         approximately:
                                             • 321,647 common
                                                shares; and
                                             0  496,089 CFDs
11   In or about          Avanir           Purchases of at least
     November 2014                         approximately:
                                             • 25,000 common
                                                shares; and
                                             • 35,111 CFDs
12   In or about          Hyperion         Purchases of at least
     March 2015                            approximately 243,272
                                           CFDs
13   In or about          Pharmacyclics    Purchases of at least
     March 2015                            approximately:
                                             0  500 call option
                                                contracts; and
                                             • 160,000 CFDs
14   In or about          Receptos         Purchases of at least
     March and April                       approximately:
     2015                                    • 26,000 common
                                                shares;
                                             • 255 call option
                                                contracts; and
                                             •  162,119 CFDs


                                     13
       Case 1:18-cr-00184-VSB Document 25 Filed 01/06/20 Page 14 of 23



15     In or about          Omnicare         Purchases of at least
       April and May                         approximately:
       2015                                    • 25,000 common
                                                  shares;
                                               0  30 call option
                                                  contracts; and
                                               0  294,604 CFDs
16     In or about July     Thoratec         Purchases of at least
       2015                                  approximately 300,000
                                             CFDs
17     In or about          Solera           Purchases of at least
       August and                            approximately:
       September 2015                          • 65,888 common
                                                  shares;
                                               • 100 call option
                                                  contracts; and
                                               • 367,815 CFDs
        (Title 15, United States Code, Sections 78j(b) & 78ff;
     Title 17, Code of Federal Regulations, Sections 240.l0b-5 &
      240.10b5-2; and Title 18, United States Code, Section 2.)

                  COUNTS EIGHTEEN THROUGH TWENTY-TWO
               (Fraud in Connection with Tender Offers)

       The Grand Jury further charges:

       14.   The allegations contained in paragraphs 1 through 3

and 7 of this Indictment are hereby repeated, realleged, and

incorporated by reference, as if fully set forth herein.

       15.   On or about the dates set forth below, in the Southern

District of New York and elsewhere, MARC DEMANE DEBIH, the

defendant, willfully and knowingly engaged in fraudulent,

deceptive, and manipulative acts and practices in connection

with a tender offer, in that after an offering person had taken

substantial steps to commence a tender offer, DEMANE DEBIH,

while in possession of material information relating to such

                                       14
     Case 1:18-cr-00184-VSB Document 25 Filed 01/06/20 Page 15 of 23



tender offer, which information he knew and had reason to know

was non-public and which he knew and had reason to know had been

acquired directly and indirectly from the offering person, the

issuer of the securities sought and to be sought by such tender

offer, and an officer, director, partner, and employee and other

person acting on behalf of the offering person and such issuer:

(a) purchased and sold and caused to be purchased and sold; and

(b) communicated such material, non-public information under

circumstances in which it was reasonably foreseeable that such

communication would likely result in the purchase and sale of

such securities and securities convertible into and exchangeable

for such securities and options and right to obtain and to

dispose of such securities and options, without such information

and its source having been publicly disclosed by press release

and otherwise within a reasonable time prior to such purchase

and sale, to wit, DEMANE DEBIH, executed and caused to be

executed timely securities transactions, based on material non-

public information supplied in breach of a duty, including the

securities transactions listed below on or about the dates

listed below.




                                   15
      Case 1:18-cr-00184-VSB Document 25 Filed 01/06/20 Page 16 of 23



Count Transaction         Company         Transactions
      Date
 18   In or about         Onyx            Purchases of at least
      June 2013                           approximately:
                                            o  57,200 common shares;
                                            • 244 call option
                                               contracts;
                                            • 1,300 spread bet
                                               contracts;
                                            • 500 spread bet call
                                               option contracts; and
                                            o  20,500 CFDs
 19   In or about May     Idenix          Purchases of at least
      and June 2014                       approximately:
                                            • 321,647 common shares;
                                               and
                                            • 496,089 CFDs
 20   In or about         Avanir          Purchases of at least
      November 2014                       approximately:
                                            • 25,000 common shares;
                                               and
                                            • 35,111 CFDs
 21   In or   about       Hyperion        Purchases of at least
      March   2015                        approximately 243,272 CFDs
 22   In or   about       Receptos        Purchases of at least
      March   and April                   approximately:
      2015                                  o  26,000 common shares;
                                            • 255 call option
                                               contracts; and
                                            • 162,119 CFDs

      (Title 15, United States Code, Sections 78n(e) & 78ff;
  Title 17, Code of Federal Regulations, Sections 240.14e-3(a)          &
   240.14e-3(d); and Title 18, United States Code, Section 2.)

               COUNTS TWENTY-THREE THROUGH THIRTY-SEVEN
                             {Wire Fraud)

      The Grand Jury further charges:

      16.   The allegations contained in paragraphs 1 through 3

 and 7 of this Indictment are hereby repeated, realleged, and

 incorporated by reference, as if fully set forth herein.

                                     16
     Case 1:18-cr-00184-VSB Document 25 Filed 01/06/20 Page 17 of 23



     17.   On or about the dates set forth below, in the Southern

District of New York and elsewhere, MARC DEMANE DEBIH, the

defendant, willfully and knowingly, having devised and intending

to devise a scheme and artifice to defraud, and for obtaining

money and property by means of false and fraudulent pretenses,

representations, and promises, transmitted and caused to be

transmitted by means of wire, radio, and television

communication in interstate and foreign commerce writings,

signs, signals, pictures, and sounds for the purpose of

executing such scheme and artifice, to wit, through the use of

interstate wires, including interstate and international

telephone calls, DEMANE DEBIH participated in a scheme to

defraud at least Investment Bank A, Investment Bank B, Reliance,

Life, ABC, Heidrick, Onyx, Intermune, Idenix, Avanir, Hyperion,

Pharmacyclics, Receptos, Omnicare, Solera, and Thoratec of

valuable confidential information by deceptively converting that

information to his own use and the use of others in breach of

fiduciary and other duties owed to the subject companies for the

purpose of committing insider trading and executing the

securities transactions listed below:




                                   17
      Case 1:18-cr-00184-VSB Document 25 Filed 01/06/20 Page 18 of 23



Count Transaction         Company          Transactions
      Date
 23   In or about         Metals           Purchases of at least
      December 2012                        approximately:
      and January                            o 12,000 common shares;
      2013                                   • 1,822 spread bet
                                                contracts; and
                                             • 3,500 CFDs
 24   In or about         Life             Purchases of at least
      January 2013                         approximately:
                                             • 9,500 common shares;
                                             • 100 call option
                                                contracts;
                                             • 1,000 spread bet
                                                contracts;
                                             o  500 spread bet call
                                                option contracts;
                                             • 8 , 8 8 8 CFDs ; and
                                             • 10 CFD call option
                                                contracts
 25   In or about         ABC              Purchases of at least
      February and                         approximately:
      March 2013                             • 30,000 common shares;
                                             o  695 call option
                                                contracts;
                                             • 1,600 spread bet
                                                contracts; and
                                             • 16,000 CFDs
 26   In or about         Life             Purchases of at least
      April 2013                           approximately:
                                             • 100 call option
                                                contracts;
                                             • 1,227 spread bet
                                                contracts;
                                             o 1,224 spread bet call
                                                option contracts; and
                                             o  18, 000 CFDs
 27   In or about         Heidrick         Purchases of at least
      April and May                        approximately 1,830 spread
      2013                                 bet contracts




                                     18
     Case 1:18-cr-00184-VSB Document 25 Filed 01/06/20 Page 19 of 23



28   In or about         Onyx             Purchases of at least
     June 2013                            approximately:
                                            o  57,200 common shares;
                                            • 244 call option
                                               contracts;
                                            o  1,300 spread bet
                                               contracts;
                                            o  500 spread bet call
                                               option contracts; and
                                            o  2 0 , 5 0 0 CFDs
29   In or about         Intermune        Purchases of at least
     April through                        approximately:
     August 2014                            o  49,000 common shares;
                                            • 400 call option
                                               contracts; and
                                             o   353,000 CFDs
30   In or about May     Idenix           Purchases of at least
     and June 2014                        approximately:
                                            o  321,647 common shares;
                                               and
                                            • 496,089 CFDs
31   In or about         Avanir           Purchases of at least
     November 2014                        approximately:
                                            • 25,000 common shares;
                                               and
                                            o  35,111 CFDs
32   In or   about       Hyperion         Purchases of at least
     March   2015                         approximately 243,272 CFDs
33   In or   about       Pharmacyclics    Purchases of at least
     March   2015                         approximately:
                                            • 500 call option
                                               contracts; and
                                            • 160,000 CFDs
34   In or about         Receptos         Purchases of at least
     March and April                      approximately:
     2015                                   • 26,000 common shares;
                                            • 255 call option
                                               contracts; and
                                            • 162,119 CFDs




                                    19
     Case 1:18-cr-00184-VSB Document 25 Filed 01/06/20 Page 20 of 23



35   In or about         Omnicare         Purchases of at least
     April and May                        approximately:
     2015                                   • 25,000 common shares;
                                            • 30 call option
                                               contracts; and
                                            • 294,604 CFDs
36   In or about         Thoratec         Purchases of at least
     July 2015                            approximately 300,000 CFDs
37   In or about         Solera           Purchases of at least
     August and                           approximately:
     September 2015                         • 65,888 common shares;
                                            0  100 call option
                                               contracts; and
                                            • 367,815 CFDs
       (Title 18, United States Code, Sections 1343 and 2.)

                          COUNT THIRTY-EIGHT
                          (Securities Fraud)

     The Grand Jury further charges:

     18.   The allegations contained in paragraphs 1 through 3

and 7 of this Indictment are hereby repeated, realleged, and

incorporated by reference, as if fully set forth herein.

     19.   From at least in or about December 2012 through in or

about September 2015, in the Southern District of New York and

elsewhere, MARC DEMANE DEBIH, the defendant, willfully and

knowingly executed a scheme and artifice to (a) defraud persons

in connection with securities of an issuer with a class of

securities registered under Section 12 of the Securities

Exchange Act of 1934 and that was required to file reports under

section 15(d) of the Securities Exchange Act of 1934, and (b)

obtain, by means of false and fraudulent pretenses,


                                    20
     Case 1:18-cr-00184-VSB Document 25 Filed 01/06/20 Page 21 of 23



representations, and promises, money and property in connection

with the purchase and sale of securities of an issuer with a

class of securities registered under Section 12 of the

Securities Exchange Act of 1934 and that was required to file

reports under Sectiop 15(d) of the Securities Exchange Act of

1934, to wit, DEMANE DEBIH and others schemed to defraud at

least Reliance, Life, ABC, Heidrick, Onyx, Intermune, Idenix,

Avanir, Hyperion, Pharmacyclics, Receptos, Omnicare, Solera, and

Thoratec of valuable confidential information by deceptively

converting that information to their own use, using cellular

telephones and e-mail communications, for the purpose of

executing transactions in the securities of Metals, Life, ABC,

Heidrick, Onyx, Intermune, Idenix, Avanir, Hyperion,

Pharmacyclics, Receptos, Omnicare, Solera, and Thoratec.

       (Title 18, United States Code, Sections 1348 and 2.)

                        FORFEITURE ALLEGATION

     20.   As a result of committing one or more of the offenses

alleged in Counts One through Thirty-Eight of this Indictment,

MARC DEMANE DEBIH, the defendant, shall forfeit to the United

States pursuant to Title 18, United States Code, Section

98l(a) (1) (C) and Title 28, United States Code, Section 2461, any

and all property, real and personal, that constitutes or is

derived from proceeds traceable to the commission of the




                                   21
     Case 1:18-cr-00184-VSB Document 25 Filed 01/06/20 Page 22 of 23



offenses alleged in Counts One through Thirty-Eight of this

Indictment.

                      Substitute Assets Provision

     21.     If any of the above-described forfeitable property, as

a result of any act or omission of the defendant:

             a.   cannot be located upon the exercise of due

diligence;

             b.   has been transferred or sold to, or deposited

with, a third party;

             c.   has been placed beyond the jurisdiction of the

court;

             d.   has been substantially diminished in value; or

             e.   has been commingled with other property which

cannot be divided without difficulty,

it is the intent of the United States, pursuant to Title 21,

United States Code, Section 853(p), to seek forfeiture of any

other property of the defendant up to the value of the

forfeitable property described above.

  (Title 18, United States Code, Section 981; Title 21, United
  States Code, Section 853; and Title 28, United States Code,
                         Section 2461.)



                                   ab~~-
                                 Robert Khuzam1
                                 Attorney for the United States,
                                 Acting Under Authority Conferred
                                 by 28 U.S.C. § 515

                                   22
., .   .   ...
                                                               .
                                              ' 25 Filed 01/06/20 Page 23 of 23
                 Case 1:18-cr-00184-VSB Document                                          ., -




                                   Form No. USA-33s-274                (Ed. 9-25-58)


                                       UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF NEW YORK


                                          UNITED STATES OF AMERICA

                                                              - v. -

                                                 MARC DEMANE DEBIH,

                                                          Defendant.


                                                   SEALED INDICTMENT

                                                       83 18 Cr. 184

                             (18 U.S.C. §§ 371, 1343, 1348, 1349, and
                               2; 15U.S.C. §§ 78j(b), 78n(e), 78ff;
                               17 C.F.R. §§ 240.l0b-5, 240.10b5-2,
                                   240 .14e-3 (a), 240 .14e-3 (d).)

                                                            ROBERT KHUZZMI
                                           Attorney for the United States,
                                          Acting Under Authority Conferred
                                                      by 28 U.S.C. § 515.




                                                                            Foreperson.




                 ~ .\e-d ::Cvvcf ~C, +.-vte,.11, +-
                 .,.4- c f'~   t   J   °'-- r"   c-t,.-,.As
